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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                               Alexandria Division


RENITA KALISZ,

     Plaintiff,



V.                                       Civil Action No. 1:18-cv-00516



BANK OF AMERICA, N.A,,

     Defendant.


                               Memorandum Opinion

     THIS    MATTER    comes    before   the   Court   on   Defendant    Bank   of


America, N.A.'s ("SANA") Motion to Dismiss pursuant to Rule 12(b)(6)

for failure to state a claim.


     Plaintiff brings this case alleging a violation of the Equal

Credit Opportunity Act (^'ECOA") by SANA when it refused to allow

Plaintiff to make monthly payments on a loan in retaliation for

Plaintiff asserting her rights under the Consumer Credit Protection

Act in a state court action.


     Plaintiff's Complaint alleges that in October 2005, Plaintiff

and BANA entered into an agreement in which she took out a line of

credit with BANA in the amount of $150,000 and executed the Bank of

America     Equity    Maximizer    Agreement     and   Disclosure       Statement

("Agreement"), which governs the line of credit. On February 17,

2017, Plaintiff filed suit against BANA in the Small Claims Division
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